Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 1 of 13




                 Exhibit G
Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 2 of 13




  JOHNNIE ALSTON INMATE NO. 0974248                                            April 14, 2023
  CLAYTON COUNTY JAIL
  9157 TARA BLVD                                                                Re: Alicia Alston
  JONESBORO GEORGIA 30236                                                       Emory University & Healthcare
                                                                                Claim:           Contract:
                                                                                G09979           647272




  Dear Johnnie Alston Inmate No. 0974248:


  We are writing regarding a claim for group Life Insurance and Accidental Death and Dismemberment
  Insurance (AD&D) benefits with Standard Insurance Company.

  Alicia Alston was eligible for group term life insurance benefits through her membership with Emory
  Healthcare. Mrs. Alson named you as beneficiary to receive a portion of these proceeds in the event of her
  death.

  It is our understanding that you have been charged for the death of Alicia Alston. Under Georgia State law you
  may be disqualified as the beneficiary. At this time, we would like to give you the opportunity to disclaim the
  benefits stating your intent to waive your rights to this policy.

  Please be advised that a person who disclaims insurance is asking to be treated as if they never existed as a
  beneficiary. Therefore, the proceeds payable to you that have been disclaimed will be paid to the other named
  beneficiaries.

  If you choose to move forward with the action of disclaiming this benefit, please complete the enclosed form
  and sign it in the presence of a notary public.

  We also want to advise you that if we accept your letter as a valid disclaimer under this policy, we make no
  representations regarding any state and federal tax penalties you may be subject to. Before sending us your
  disclaimer you may wish to seek legal advice to advise you of your rights in this matter.

  Any Questions?

  For your convenience, enclosed you will find a return postage-paid envelope. You may also fax or email this
  information to us directly. Please contact us if you have any questions about this claim.

  Sincerely,




  Crysti Shirley
  Senior Life Benefits Analyst
  Life and Disability Services

  Standard Insurance Company
  PO Box2800
  Portland , OR 97204
  Tel 800.368.1135
    Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 3 of 13




ALICIA ALSTON 009979                 Page2                               April 14, 2023



   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
  Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 4 of 13

                                       DISCLAIMER AND RELEASE


I, _Johnnie
    ____    Alston
              _ _ _ _ _ _ _ _ _ _ _ _ [name of disclaiming beneficiary], declare that I am the
spouse
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [identify relationship to decedent], of
_Alicia
 ___    Alston
         _ _ _ _ _ _ _ _ _ _ _ _ _ [name of decedent], who died on
December
_ ____   30,_
            2022                   Grady
              _ _ _ _ _ [date], at _ _ _Memorial
                                         ____    Hospital,
                                                  ____     Atlanta
                                                             _ _ [location].


Decedent was insured under group insurance policy no. _647272
                                                        _ _ _ _ _ issued by Standard Insurance
Company ("Standard") to Emory Healthcare                            [name of policyholder] (the "Group Policy'').

The Decedent named me as a beneficiary under the Group Policy and/or the Group Policy indicates that I am
included within a beneficiary class and/or I have asserted a claim to insurance proceeds payable under the
Group Policy.

I disclaim and renounce any and all beneficiary interest and any and all claims to the insurance proceeds.

I fully release Standard from all claims which I may have to the insurance proceeds disclaimed by me.

This disclaimer and release is freely and voluntarily made by me after having had the opportunity to be
appraised of all relevant information by my attorney or tax advisor. In making this disclaimer and release, I have
not relied on any inducements or representations made by Standard.

I have read this disclaimer and release, know its contents and consequences, and voluntarily sign it.



Signature

Date: _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                     Notary


State of _ _ _ _ _ _ _ _ _ _ _ _ _ )
                                    )
County of _ _ _ _ _ _ _ _ _ _ _ _ _ )



This instrument was acknowledged before me on _ _ _ _ _ _ _ _ _ _ _ _ _____.date] by

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __._name(s) of person(s) acknowledging].



_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [Notary's signature]

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [Notary's typed or printed name]

My commission expires: _ _ _ _ _ _ _ _ _ _ _ _ __

[Notary's stamp]




                                                                                                      (ISG Legal 12/1 1/08)

               Claim: D G09979                              Date sent: April 14, 2023Sent by: Crysti Shirley RCOVA
           Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 5 of 13

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....t,.J    JOHNNIE ALSTON INMATE.NO. 0974248                                               May 5,   ao23
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            CLAYTON COl!JNifY JAll!.
i::         9157 TARA BLVD                                                                  Re: Alicia Alston
            JONESBORO GEORGIA 30236                                                         Emory University & Health~re
                                                                                            Glaltn:          Contract:
                                                                                            G09979           647272




            Dear Johnnie Alston :inmate No, ·0974248:
                                           1




            We are wrltlng,abouta·claii'n for group life in~u~nce benefits with Standardi lhsu~nce Company. We are
            unable to flnish,ollr Investigation b~usewe ne$Q the following items:

            Please :provide the .f ollowlng Information
                 •    Disclaimer and Release


            We are extending the:,time,.todeclde ,this claim :by an additlonal190 days. We ,anUcipate ,that we will be
            able to complete our, review·by, August 7,.2023.


            Allele Alston,was,ellglble for group term life Insurance benefits thr_ough her rnembetshipwith Emory
            Healthcare. Mrs. AJson named y_   ou as beneficiary to receive a.; portlon of these proceeds In the event of
            her death.

            It Is our understancllng that you have been ·charge(.!' for the ,death of-Alicia Alston, Under Georgia State
            law you may be disqualified as the beneficiary. At-this time, we WO.LJld like -to givf;l•Y9u _the opportunity to
            disclaim the benefits ·stating your intent to waive your tights to this policy.          ·

             Please be advls~d that.a :person who•dlsclalms·i!"~y_rance is asking to :be,, treate(t1as if they ·never·existed
            as.a,beneficiary. Therefore, the proceeds payable to you·that'have been dlsclaime~•will be paid to the
            other named beneficiaries.

            If you choose ,to mcive,forward-- with the.action of. disclaiming this .benefit. please complete the enclosed
            form and sign it ln the presence of a notary public. We also wantto advise v.ou ttiat if we.accept your
            letter as.a,valid disclaimer under this policy, we,make n6,representatlonuegarding any state and federal
            tax penalties you .may ;be subject .to. Before sending ,us your disclaimer you 1, may wish to seek legal
            advice .to-advise you of your 'lights :1n this-m_
                                                            atter.

            A.ny Questions?
             For your convenienge, enclosed·you,wlll find a return posuiige~paidIenvelope. YQY may also fax or email
             this Information, tQ y~ c;Hrectly, Please contact ·us if you·have any questions about•this,claim,

             Standard Insurance Company
             P0Box2800
             Portland. OR 9n04
             iTel 800.368. 1-135
Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 6 of 13


AUCIAALSToN~                                                         a
 Sincerely.



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 -   .    -   '        .  .
    nlor-~fe 1Benefits Analyst
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 Ute and Disability :Services
 aoo.e2a;aeoo ext
  Fax 888;414:0389
 CrysH~Shlrtey@sta_
                  n~erd.qom
                   Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 7 of 13


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  "'C          0ecedent was insured:1 under group1irisurance 1policy1no.==-=-=-=---=1issued lby Standard IInsurance                                             1

  Si::
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               ilihe Decedent1named 1me,as .a :beneficiary1under ,the 1Group IPoli¢y1$nd/orthe Group 1Policy ihdicat$s :that 11am
               included'• within,, a lbenefitiacy,ciass :and/or I have asserted a,claim ;to insurance :proceeds 1payable ,under the
               Group,Poli¢y.

               11disclaim.and ,renounce ,any and ,all Ibeneficiary interest,and any ,and ,am claims ,to ,the 1insurance 1proceeds.

               11fully 1release:stanctard1trom,. all ,claims Which 11may 1have :to the insurance proceeds disclaimed .by me.

               rnhis 1disclaimer,and1release ,is ,rreely•ar'ltf voIuntarily1made by 1me ,afterlhaVing.had ,the,oppoitunity to:be
               appraised ,of'all 1relevant 1inrormatioh !by ,my ·attorney,or ,tax.advisor. 11n making ,this •disclaimer·and 1reIease, 1have                                                   1


               not1relied ,on any ,inducements ,or representations matte lby :stanctard.

               1have,read ,this,disclaiiner ·and1release, know1its., contents ,and 1,consequences, ,and1· voluntarily sign 1it.
               1                                   1




               Signature

               11:)~te:      ----------------=---------=

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               ,County oi              ____,,--,,..,......,.,...-...,.....--,------>

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----               _______________________ [Notarys1slgnatufeJ

                   -------.,,..,,.,==---=---=---............,,.........,..,... (Notatys:typed,ot,pnnted.• nameJ
               1My 1commission,expires: ....- ------===-=-=-=-=------~
               /Nota,Ys ,stamp]
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                                                                                                                                                                           ,(ISG IL.egal ~2/11/08)

                                                  Claim: 10 G09979                                                                  Dale sent: MayS.,2023 ISant by: Clysti Shlitey RCOVA
                                                                                                                                    1
Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 8 of 13




  CLAYTON COUNTY JAIL                                                          June 2, 2023
  ATTN JOHNNIE ALSTON INMATE NO 094248
  9157 TARA BLVD                                                                Re: Alicia Alston
  JONESBORO GEORGIA 30236                                                       Emory University & Healthcare
                                                                                Claim:           Contract:
                                                                                G09979           647272




  Dear Clayton County Jail:


  We are writing regarding a claim for group Life Insurance and Accidental Death and Dismemberment
  Insurance (AD&D) benefits with Standard Insurance Company.

  Alicia Alston was eligible for group term life insurance benefits through her membership with Emory
  Healthcare. Mrs. Alson named you as beneficiary to receive a portion of these proceeds in the event of her
  death.

  It is our understanding that you have been charged for the death of Alicia Alston. Under Georgia State law you
  may be disqualified as the beneficiary. At this time, we would like to give you the opportunity to disclaim the
  benefits stating your intent to waive your rights to this policy.

  Please be advised that a person who disclaims insurance is asking to be treated as if they never existed as a
  beneficiary. Therefore, the proceeds payable to you that have been disclaimed will be paid to the other named
  beneficiaries.

  If you choose to move forward with the action of disclaiming this benefit, please complete the enclosed form
  and sign it in the presence of a notary public.

  We also want to advise you that if we accept your letter as a valid disclaimer under this policy, we make no
  representations regarding any state and federal tax penalties you may be subject to. Before sending us your
  disclaimer you may wish to seek legal advice to advise you of your rights in this matter.

  Any Questions?

  For your convenience, enclosed you will find a return postage-paid envelope. You may also fax or email this
  information to us directly. Please contact us if you have any questions about this claim.

  Sincerely,




  Crysti Shirley
  Senior Life Benefits Analyst
  Life and Disability Services

  Standard Insurance Company
  PO Box2800
  Portland , OR 97204
  Tel 800.368.1135
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ALICIA ALSTON 009979                 Page2                               June 2, 2023



   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
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                                       DISCLAIMER AND RELEASE


I, _Johnnie
     _ _ _Alston
            _ _ _ _ _ _ _ _ _ _ _ _ _ [name of disclaiming beneficiary], declare that I am the
 spouse
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [identify relationship to decedent], of
Alicia
_ _ _Alston
       _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of decedent], who died on
December
_ ____   30,
          _2022                   Grady
             _ _ _ _ _ [date], at _ __  Memorial
                                         ____    Hospital,
                                                  _ _ _Atlanta
                                                           _ _ _GA
                                                                 [location].


                                                          647272
Decedent was insured under group insurance policy no. _ _ _ _ _ _ issued by Standard Insurance
Company ("Standard") to Emory Healthcare                            [name of policyholder] (the "Group Policy'').

The Decedent named me as a beneficiary under the Group Policy and/or the Group Policy indicates that I am
included within a beneficiary class and/or I have asserted a claim to insurance proceeds payable under the
Group Policy.

I disclaim and renounce any and all beneficiary interest and any and all claims to the insurance proceeds.

I fully release Standard from all claims which I may have to the insurance proceeds disclaimed by me.

This disclaimer and release is freely and voluntarily made by me after having had the opportunity to be
appraised of all relevant information by my attorney or tax advisor. In making this disclaimer and release, I have
not relied on any inducements or representations made by Standard.

I have read this disclaimer and release, know its contents and consequences, and voluntarily sign it.



Signature

Date: _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                     Notary


State of _ _ _ _ _ _ _ _ _ _ _ _ _ )
                                    )
County of _ _ _ _ _ _ _ _ _ _ _ _ _ )



This instrument was acknowledged before me on _ _ _ _ _ _ _ _ _ _ _ _ _____.date] by

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __._name(s) of person(s) acknowledging].



_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [Notary's signature]

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [Notary's typed or printed name]

My commission expires: _ _ _ _ _ _ _ _ _ _ _ _ __

[Notary's stamp]




                                                                                                     (ISG Legal 12/1 1/08)

               Claim: D G09979                              Date sent: June 2, 2023 Sent by: Crysti Shirley RCOVA
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CLAYTON COUNTY JAIL                                                        July 3, 2023
JOHNNIE ALSTON INMATE 094248
9157 TARA BLVD                                                             Re: Alicia Alston
JONESBORO GEORGIA 30236
                                                                           Emory University & Healthcare
                                                                           Claim:           Contract:
                                                                           G09979           647272




Dear Clayton County Jail:

We are writing about a claim for group life insurance benefits with Standard Insurance Company. The
following benefits are payable:


Summary of Benefits

                     BENEFIT TYPE                             AMOUNT PAYABLE
                     Basic Life                               $8,600.00
                     Additional Life                          $25,600.00
                     Voluntary AD&D                           $30,400.00

We are unable to pay this claim because we need additional information. We can continue our review
once we receive this information:

Please Provide the Following Information
    ·    Beneficiary Statement
    ·    Disclaimer and Release



Alicia Alston was eligible for group term life insurance benefits through her membership with Emory
Healthcare. Mrs. Alston named you as a beneficiary to receive a portion of these proceeds in the event
of her death. The amounts listed above represent 20% of the Basic Life benefit, and 16% of the
Additional Life and Voluntary AD&D benefits.

It is our understanding that you have been charged for the death of Alicia Alston. Under Georgia State
law, you may be disqualified as a beneficiary. A this time, we would like to give you the opportunity to
disclaim the benefits, stating your intent to waive your rights to this policy.

Please be advised that a person who disclaims insurance is asking to be treated as if they never existed
as a beneficiary. Therefore, the proceeds payable to you that have been disclaimed will be paid to the
remaining named beneficiaries.



Standard Insurance Company
PO Box 2800
Portland, OR 97204
Tel 800.368.1135
   Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 12 of 13




ALICIA ALSTON G09979                              Page 2                                               July 3, 2023



   If you choose to move forward with this action of disclaiming this benefit, please complete the enclosed
   form and sign it in the presence of a notary public, We also want to advise you that if we accept your
   letter as a valid disclaimer under this policy, we make no representations regarding any state and federal
   tax penalties you may be subject to. Before sending us your disclaimer, you may wish to seek legal
   advice to advise you of your rights in this matter.

   Any Questions?

   For your convenience, enclosed you will find a return postage-paid envelope. You may also fax or email
   this information to us directly. Please contact us if you have any questions about this claim.

   Sincerely,




   Crysti Shirley
   Senior Life Benefits Analyst
   Life and Disability Services
   800.628.8600 ext.
   Fax 888.414.0389
   Crysti.Shirley@standard.com
     Case 1:23-mi-99999-UNA Document 2544-7 Filed 08/09/23 Page 13 of 13

                                       DISCLAIMER AND RELEASE


I,                                                [name of disclaiming beneficiary], declare that I am the
                                                          [identify relationship to decedent], of
                                                  [name of decedent], who died on
                                 [date], at                                                [location].


Decedent was insured under group insurance policy no.                          issued by Standard Insurance
Company (“Standard”) to                                             [name of policyholder] (the “Group Policy”).

The Decedent named me as a beneficiary under the Group Policy and/or the Group Policy indicates that I am
included within a beneficiary class and/or I have asserted a claim to insurance proceeds payable under the
Group Policy.

I disclaim and renounce any and all beneficiary interest and any and all claims to the insurance proceeds.

I fully release Standard from all claims which I may have to the insurance proceeds disclaimed by me.

This disclaimer and release is freely and voluntarily made by me after having had the opportunity to be
appraised of all relevant information by my attorney or tax advisor. In making this disclaimer and release, I have
not relied on any inducements or representations made by Standard.

I have read this disclaimer and release, know its contents and consequences, and voluntarily sign it.



Signature

Date:

                                                      Notary


State of                                          )
                                                  )
County of                                         )



This instrument was acknowledged before me on                                                        [date] by

                                                          [name(s) of person(s) acknowledging].



                                                  [Notary’s signature]

                                                  [Notary's typed or printed name]

My commission expires:

[Notary's stamp]




                                                                                                     (ISG Legal 12/11/08)

               Claim: D G09979                              Date sent: July 3, 2023 Sent by: Crysti Shirley RCOVA
